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                             UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

 Dan Wang,                                                  )
                                                            )
                                            Plaintiff,      )
                                                            )     Case No. 1:21-cv-01664
 v.                                                         )
                                                            )     Hon. Virginia M. Kendall
 The Partnerships and Unincorporated                        )
 Associations Identified on Schedule “A”,                   )     Hon. Sheila M. Finnegan
                                                            )
                                            Defendants.     )

                             Notice of Dismissal Under Rule 41(a)(1)

Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff Dan Wang (“Plaintiff”)

hereby dismisses this action with prejudice against solely the following defendants:

                Schedule A Line No.              Defendant Online Store
                        128                            Cute as me
                        139                               efox
                        158                 HUAYING TECHNOLOGY CO., LTD
                        187                            Ou De Sai
                        188                           Paintersong

Each side shall bear their own costs and fees, including all attorneys’ fees.

Dated this November 3, 2021
                                                                 Respectfully submitted,

                                                                 /s/Ilya G. Zlatkin
                                                                 Zlatkin Wong LLP
                                                                 4245 N. Knox Ave.
                                                                 Chicago, IL 60641
                                                                 ilya@zlatkinwong.com

                                                                 Counsel for Plaintiff Dan Wang




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